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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

MELODY RUSSELL,                                   *

       Plaintiff,                                 *

v.                                                *           Civil Action No. GLR-16-1286

GIANT, et al.,                                    *

       Defendants.                                *

                                   MEMORANDUM OPINION

       THIS MATTER is before the Court on Plaintiff Melody Russell’s self-represented Complaint

(ECF No. 1), Motion for Leave to Proceed in Forma Pauperis (ECF No. 2), Motion for Preliminary

Injunction (ECF No. 3), and Motion to Amend/Correct Name and Addresses (ECF No. 4). Because

Russell’s financial affidavit demonstrates she is eligible to proceed as an indigent, the Court will

grant her Motion for Leave to Proceed in Forma Pauperis. The Court will also grant Russell’s

Motion to Amend. For the reasons outlined below, however, the Court lacks jurisdiction over this

matter and will dismiss Russell’s Complaint without prejudice and deny her Motion for Injunctive

Relief without prejudice.

       Russell brings this action “under appropriate laws, including 42 U.S. Code § 1983.” (Compl.

¶ 2, ECF No. 1). She sues Giant, Inc., a Maryland Corporation, Joseph Hoffman, a Giant store

manager, Wolfe Security, a security company located in Maryland that provides security services for

Giant, and Dereck Johnson, a Wolfe Security employee. (Id. ¶¶ 5–8).

       Russell alleges that on April 27, 2016, she was “unlawfully detained against her will” for one

hour by Hoffman and Johnson at the Giant store located at 7382 Baltimore Annapolis Boulevard in

Glen Burnie, Maryland. (Id. ¶¶ 9, 13). She maintains she was wrongfully accused of theft and

“profiled” based on her “race, gender, and build.” (Id. ¶ 10). Russell asserts she feared for her life

during the detention because Johnson had a weapon holstered on his hip and “behaved as if he were
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an actual law enforcement officer.” (Id. ¶ 11). She does not allege, however, that Johnson was

actually a law enforcement officer. Russell accuses Hoffman and Johnson of trying to bully her into

showing them personal items she had brought into the store with her. (Id. ¶ 12). Russell called the

Anne Arundel County Police, and they “found that [she] did no wrong, and that the Defendants did

violate her rights.”1 (Id. ¶ 14). Russell seeks “actual and statutory damages.” (Id. at 4).

        Because she seeks to proceed in forma pauperis, the Court must screen Russell’s Complaint.

See 28 U.S.C. § 1915(e)(2)(B) (2012); Michau v. Charleston Cty, 434 F.3d 725, 728 (4th Cir. 2006).

The Court may consider subject-matter jurisdiction as part of its screening.          See Fed.R.Civ.P.

12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction, the court must

dismiss the action.”); Brickwood Contractors, Inc. v. Datanet Eng’g, Inc., 369 F.3d 385, 390 (4th Cir.

2004). (“[Q]uestions of subject-matter jurisdiction may be raised at any point during the proceedings

and may (or, more precisely, must) be raised sua sponte by the court.”).

        “Federal courts are courts of limited jurisdiction.” Home Buyers Warranty Corp. v. Hanna,

750 F.3d 427, 432 (4th Cir. 2014) (quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377 (1994)). Federal district courts have original jurisdiction over civil actions that arise under

federal law, 28 U.S.C. § 1331 (2012), or have an amount in controversy exceeding $75,000,

exclusive of interests and costs, and complete diversity of citizenship, 28 U.S.C. § 1332(a) (2012).

        Russell asserts no basis for diversity or federal-question jurisdiction over this matter. She

fails to allege an amount in controversy or that there is complete diversity among the parties. As for

federal-question jurisdiction, to state a claim under 42 U.S.C. § 1983, a plaintiff must allege a

violation of a federal law of federal constitutional right. See Baker v. McCollan, 443 U.S. 137, 140

(1979). Section 1983 establishes a cause of action against any “person” who, acting under color of

state law, “subjects, or causes to be subjected, any citizen of the United States or other person within



        1
            Russell does not assert what rights were purportedly violated.
                                                   2
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the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the

Constitution and laws” of the United States. Section 1983, however, “‘is not itself a source of

substantive rights,’ but merely provides ‘a method for vindicating federal rights elsewhere

conferred.’” Albright v. Oliver, 510 U.S. 266, 271 (1994) (quoting Baker, 443 U.S. at 144 n.3).

        Although the Complaint cites a federal statute—42 U.S.C. § 1983—it does not name any

Defendant who is a state actor. Rather, Defendants are Maryland corporate entities and individuals

in their employ. Further, nowhere does the Complaint specify what constitutional rights or federal

law Defendants allegedly violated. Thus, the Court concludes there is no basis for federal-question

jurisdiction.

        Accordingly, because the Court lacks subject-matter jurisdiction over this case, it will dismiss

Russell’s Complaint (ECF No. 1) without prejudice and deny Russell’s Motion for a Preliminary

Injunction (ECF No. 3) without prejudice. To the extent Russell may have claims arising under state

law, she may pursue them in state court as appropriate. A separate Order follows.

Entered this 16th day of August, 2016

                                                                      /s/
                                                        ______________________________
                                                        George L. Russell
                                                        United States District Judge




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